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 7
 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
     MICHAEL RHAMBO,                           Case No.:
11
                 Plaintiff,                    COMPLAINT FOR INJUNCTIVE
12                                             RELIEF AND DAMAGES FOR
           vs.                                 VIOLATION OF:
13
                                               1. AMERICANS WITH DISABILITIES
14   JESUS IBARRA D/B/A BURGER                 ACT, 42 U.S.C. §12131 et seq.;
15   DEPOT; and DOES 1 to 10,                  2. CALIFORNIA’S UNRUH CIVIL
                 Defendants.                   RIGHTS ACT, CAL CIV. CODE §§ 51 -
16                                             52 et seq.;
17                                             3. CALIFORNIA’S DISABLED
                                               PERSONS ACT, CAL CIV. CODE §54 et
18                                             seq.
19                                             4. CALIFORNIA’S UNFAIR
                                               COMPETITION ACT, CAL BUS & PROF
20                                             CODE § 17200, et seq.
21                                             5. NEGLIGENCE
22
23
24
           Plaintiff MICHAEL RHAMBO (“Plaintiff”) complains of Defendants JESUS
     IBARRA D/B/A BURGER DEPOT; and DOES 1 to 10 (“Defendants”) and alleges as
25
26
     follows:

27
28




                                  COMPLAINT FOR DAMAGES - 1
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 1                                 JURISDICTION AND VENUE
 2         1.     The Court has jurisdiction of this action pursuant to 28 USC §1331 for
 3   violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et seq.)
 4         2.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 5   arising from the same nucleus of operating facts, are also brought under California law,
 6   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 7   54, 54., 54.3 and 55.
 8         3.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 9   property which is the subject of this action is located in this district, in La Puente, Los
10   Angeles County, California, and that Plaintiff’s causes of action arose in this district.
11                                            PARTIES
12         4.     Plaintiff is a California resident with a physical disability with substantial
13   limitation in his ability to walk. Plaintiff suffers from paraplegia due to T12 vertebrae
14   thoracic spinal cord injury and requires the use of a wheelchair at all times when
15   traveling in public.
16         5.     Defendants are, or were at the time of the incident, the real property owners,
17   business operators, lessors and/or lessees of the real property for BURGER DEPOT
18   (“Business”) located at or about 1169 N. Hacienda Blvd., La Puente, California.
19         6.     The true names and capacities, whether individual, corporate, associate or
20   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
21   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
22   Court to amend this Complaint when the true names and capacities have been
23   ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
24   fictitiously named Defendants are responsible in some manner, and therefore, liable to
25   Plaintiff for the acts herein alleged.
26         7.     Plaintiff is informed and believes, and thereon alleges that, at all relevant
27   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
28   Defendants, and/or was acting in concert with each of the other Defendants, and in doing



                                    COMPLAINT FOR DAMAGES - 2
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 1   the things alleged herein was acting with the knowledge and consent of the other
 2   Defendants and within the course and scope of such agency or employment relationship.
 3         8.     Whenever and wherever reference is made in this Complaint to any act or
 4   failure to act by a defendant or Defendants, such allegations and references shall also be
 5   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
 6   and severally.
 7                                 FACTUAL ALLEGATIONS
 8         9.     On or about September 23, 2019, Plaintiff went to the Business. On or about
 9   November 10, 2019, Plaintiff returned to the Business. The Business is a restaurant
10   business establishment, which is open to the public, is a place of public accommodation
11   and affects commerce through its operation.
12         10.    While attempting to enter the Business during each visit, Plaintiff personally
13   encountered a number of barriers that interfered with his ability to use and enjoy the
14   goods, services, privileges, and accommodations offered at the Business. To the extent
15   of Plaintiff’s personal knowledge, the barriers at the Business included, but were not
16   limited to, the following:
17                a.     Defendants failed to comply with the federal and state standards for
18                       the parking space designated for persons with disabilities. Defendants
19                       failed to provide the parking space identification sign with the
20                       International Symbol of Accessibility.
21                b.     Defendants failed to comply with the federal and state standards for
22                       the parking space designated for persons with disabilities. Defendants
23                       failed to post required signage such as “Van Access,” “Minimum Fine
24                       $250” or “Unauthorized Parking.”
25                c.     Defendants failed to maintain the parking space designated for
26                       persons with disabilities to comply with the federal and state
27                       standards. Defendants failed to provide a proper van accessible space
28                       designated for the persons with disabilities.



                                   COMPLAINT FOR DAMAGES - 3
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 1                d.     Defendant failed to maintain the parking space designated for persons
 2                       with disabilities to comply with the federal and state standards.
 3                       Defendants failed to paint the ground as required.
 4                e.     Defendants failed to maintain the parking space designated for
 5                       persons with disabilities to comply with the federal and state
 6                       standards. Defendants failed to properly mark the space with the
 7                       International Symbol of Accessibility.
 8                f.     Defendants failed to maintain the parking space designated for
 9                       persons with disabilities to comply with the federal and state
10                       standards. Defendants failed to install a proper wheel stop.
11                g.     Defendant failed to maintain the parking space designated for persons
12                       with disabilities to comply with the federal and state standards.
13                       Defendants failed to provide the access aisles with level surface
14                       slopes.
15         11.    These barriers and conditions denied Plaintiff the full and equal access to the
16   Business. Plaintiff wishes to patronize the Business again as it is conveniently located
17   for Plaintiff. However, Plaintiff is deterred from visiting the Business because his
18   knowledge of these violations prevents him from returning until the barriers are removed.
19         12.    Based on the violations, Plaintiff alleges, on information and belief, that
20   there are additional barriers to accessibility at the Business after further site inspection.
21   Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
22   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
23         13.    In addition, Plaintiff alleges, on information and belief, that Defendants
24   knew that particular barriers render the Business inaccessible, violate state and federal
25   law, and interfere with access for the physically disabled.
26         14.    At all relevant times, Defendants had and still have control and dominion
27   over the conditions at this location and had and still have the financial resources to
28   remove these barriers without much difficulty or expenses to make the Business



                                    COMPLAINT FOR DAMAGES - 4
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 1   accessible to the physically disabled in compliance with ADDAG and Title 24
 2   regulations. Defendants have not removed such barriers and have not modified the
 3   Business to conform to accessibility regulations.
 4                                   FIRST CAUSE OF ACTION
 5       VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
 6         15.    Plaintiff incorporates by reference each of the allegations in all prior
 7   paragraphs in this complaint.
 8         16.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
 9   shall be discriminated against on the basis of disability in the full and equal enjoyment of
10   the goods, services, facilities, privileges, advantages, or accommodations of any place of
11   public accommodation by any person who owns, leases, or leases to, or operates a place
12   of public accommodation. See 42 U.S.C. § 12182(a).
13         17.    Discrimination, inter alia, includes:
14                a.    A failure to make reasonable modification in policies, practices, or
15                      procedures, when such modifications are necessary to afford such
16                      goods, services, facilities, privileges, advantages, or accommodations
17                      to individuals with disabilities, unless the entity can demonstrate that
18                      making such modifications would fundamentally alter the nature of
19                      such goods, services, facilities, privileges, advantages, or
20                      accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
21                b.    A failure to take such steps as may be necessary to ensure that no
22                      individual with a disability is excluded, denied services, segregated or
23                      otherwise treated differently than other individuals because of the
24                      absence of auxiliary aids and services, unless the entity can
25                      demonstrate that taking such steps would fundamentally alter the
26                      nature of the good, service, facility, privilege, advantage, or
27                      accommodation being offered or would result in an undue burden. 42
28                      U.S.C. § 12182(b)(2)(A)(iii).



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 1                c.     A failure to remove architectural barriers, and communication barriers
 2                       that are structural in nature, in existing facilities, and transportation
 3                       barriers in existing vehicles and rail passenger cars used by an
 4                       establishment for transporting individuals (not including barriers that
 5                       can only be removed through the retrofitting of vehicles or rail
 6                       passenger cars by the installation of a hydraulic or other lift), where
 7                       such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
 8                d.     A failure to make alterations in such a manner that, to the maximum
 9                       extent feasible, the altered portions of the facility are readily
10                       accessible to and usable by individuals with disabilities, including
11                       individuals who use wheelchairs or to ensure that, to the maximum
12                       extent feasible, the path of travel to the altered area and the
13                       bathrooms, telephones, and drinking fountains serving the altered
14                       area, are readily accessible to and usable by individuals with
15                       disabilities where such alterations to the path or travel or the
16                       bathrooms, telephones, and drinking fountains serving the altered
17                       area are not disproportionate to the overall alterations in terms of cost
18                       and scope. 42 U.S.C. § 12183(a)(2).
19         18.    Where parking spaces are provided, accessible parking spaces shall be
20   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
21   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
22   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
23   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
24   be van parking space. 2010 ADA Standards § 208.2.4.
25         19.    Under the ADA, the method and color of marking are to be addressed by
26   State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
27   Building Code (“CBC”), the parking space identification signs shall include the
28   International Symbol of Accessibility. Parking identification signs shall be reflectorized



                                   COMPLAINT FOR DAMAGES - 6
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 1   with a minimum area of 70 square inches. Additional language or an additional sign
 2   below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
 3   parking space identification sign shall be permanently posted immediately adjacent and
 4   visible from each parking space, shall be located with its centerline a maximum of 12
 5   inches from the centerline of the parking space and may be posted on a wall at the
 6   interior end of the parking space. See CBC § 11B-502.6, et seq.
 7         20.    Moreover, an additional sign shall be posted either in a conspicuous place at
 8   each entrance to an off-street parking facility or immediately adjacent to on-site
 9   accessible parking and visible from each parking space. The additional sign shall not be
10   less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
11   letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
12   designated accessible spaces not displaying distinguishing placards or special license
13   plates issued for persons with disabilities will be towed always at the owner’s expense…”
14   See CBC § 11B-502.8, et seq.
15         21.    Here, Defendants failed to provide the parking space identification sign with
16   the International Symbol of Accessibility. In addition, Defendants failed to provide signs
17   stating “Minimum fine $250” or “Van Accessible.” Moreover, Defendants failed to
18   provide the additional sign with the specific languages stating “Unauthorized vehicles
19   parked in designated accessible spaces not displaying distinguishing placards or special
20   license plates issued for persons with disabilities will be towed always at the owner’s
21   expense…”
22         22.    For the parking spaces, access aisles shall be marked with a blue painted
23   borderline around their perimeter. The area within the blue borderlines shall be marked
24   with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
25   with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
26   be painted on the surface within each access aisle in white letters a minimum of 12 inches
27   (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
28   11B-502.3.3.



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 1         23.    Here, Defendants failed to properly maintain the access aisles as there was
 2   no “NO PARKING” painted on the parking surface. Moreover, Defendants failed to
 3   provide the access aisle with the minimum width of 96 inches.
 4         24.    The surface of each accessible car and van space shall have surface
 5   identification complying with either of the following options: The outline of a profile
 6   view of a wheel chair with occupant in white on a blue background a minimum 36” wide
 7   by 36” high (914 mm x 914 mm). The centerline of the profile view shall be a maximum
 8   of 6 inches (152 mm) from the centerline of the parking space, its sides parallel to the
 9   length of the parking space and its lower side or corner aligned with the end of the
10   parking space length or by outlining or painting the parking space in blue and outlining
11   on the ground in white or a suitable contrasting color a profile view of a wheel chair with
12   occupant. See CBC § 11B-502.6.4, et seq.
13         25.    Here, Defendants failed to properly paint the International Symbol of
14   Accessibility on the surface as required. The Symbol painting had faded on the surface.
15         26.    When arranging disabled parking stalls, loading zone access to the
16   accessible route should not force one who is disabled to travel behind any other vehicle
17   other than their own. Wheel stops are required when the front end of the vehicle would
18   encroach into the accessible route and reduce the path under 48”. The entrance warning
19   tow-away signs must provide specific wording and include a reclaim name or phone
20   number installed on the sign. See CBC § 11B-502.7.2. At least one accessible route shall
21   connect accessible building, facilities, elements, and spaces that are on the same site.
22   1991 ADA Standards § 4.3.2.
23         27.    Here, Defendants failed to properly install wheel stop and the front end of
24   the vehicle would encroach into the accessible route.
25         28.    Under the 1991 Standards, parking spaces and access aisles must be level
26   with surface slopes not exceeding 1:50 (2%) in all directions. 1991 Standards § 4.6.2.
27   Accessible parking spaces shall be at least 96 in (2440 mm) wide. Parking access aisles
28   shall be part of an accessible route to the building or facility entrance and shall comply



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 1   with 4.3. Two accessible parking spaces may share a common access aisle. Parked
 2   vehicle overhangs shall not reduce the clear width of an accessible route. Parking spaces
 3   and access aisles shall be level with surface slopes not exceeding 1:50 (2%) in all
 4   directions. 1991 Standards § 4.6.3.
 5         29.    Here, the access aisles are not level with the parking spaces. Under the 2010
 6   Standards, access aisles shall be at the same level as the parking spaces they serve.
 7   Changes in level are not permitted. 2010 Standards § 502.4. “Access aisles are required
 8   to be nearly level in all directions to provide a surface for transfer to and from vehicles.”
 9   2010 Standards § 502.4 Advisory. Id. No more than a 1:48 slope is permitted. 2010
10   Standards § 502.4. Here, the failure to provide level parking is a violation of the law.
11         30.    A public accommodation shall maintain in operable working condition those
12   features of facilities and equipment that are required to be readily accessible to and usable
13   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a). By failing to
14   maintain the facility to be readily accessible and usable by Plaintiff, Defendants are in
15   violation of Plaintiff’s rights under the ADA and its related regulations.
16         31.    The Business has denied and continues to deny full and equal access to
17   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
18   discriminated against due to the lack of accessible facilities, and therefore, seeks
19   injunctive relief to alter facilities to make such facilities readily accessible to and usable
20   by individuals with disabilities.
21                                SECOND CAUSE OF ACTION
22                   VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
23         32.    Plaintiff incorporates by reference each of the allegations in all prior
24   paragraphs in this complaint.
25         33.    California Civil Code § 51 states, “All persons within the jurisdiction of this
26   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
27   national origin, disability, medical condition, genetic information, marital status, sexual
28   orientation, citizenship, primary language, or immigration status are entitled to the full



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 1   and equal accommodations, advantages, facilities, privileges, or services in all business
 2   establishments of every kind whatsoever.”
 3         34.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
 4   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
 5   for each and every offense for the actual damages, and any amount that may be
 6   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
 7   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
 8   attorney’s fees that may be determined by the court in addition thereto, suffered by any
 9   person denied the rights provided in Section 51, 51.5, or 51.6.
10         35.    California Civil Code § 51(f) specifies, “a violation of the right of any
11   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
12   shall also constitute a violation of this section.”
13         36.    The actions and omissions of Defendants alleged herein constitute a denial
14   of full and equal accommodation, advantages, facilities, privileges, or services by
15   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
16   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
17   51 and 52.
18         37.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
19   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
20   damages as specified in California Civil Code §55.56(a)-(c).
21                                  THIRD CAUSE OF ACTION
22                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
23         38.    Plaintiff incorporates by reference each of the allegations in all prior
24   paragraphs in this complaint.
25         39.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
26   entitled to full and equal access, as other members of the general public, to
27   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
28   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,



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 1   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
 2   of transportation (whether private, public, franchised, licensed, contracted, or otherwise
 3   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
 4   places of public accommodations, amusement, or resort, and other places in which the
 5   general public is invited, subject only to the conditions and limitations established by
 6   law, or state or federal regulation, and applicable alike to all persons.
 7         40.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
 8   corporation who denies or interferes with admittance to or enjoyment of public facilities
 9   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
10   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
11   the actual damages, and any amount as may be determined by a jury, or a court sitting
12   without a jury, up to a maximum of three times the amount of actual damages but in no
13   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
14   determined by the court in addition thereto, suffered by any person denied the rights
15   provided in Section 54, 54.1, and 54.2.
16         41.    California Civil Code § 54(d) specifies, “a violation of the right of an
17   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
18   constitute a violation of this section, and nothing in this section shall be construed to limit
19   the access of any person in violation of that act.
20         42.    The actions and omissions of Defendants alleged herein constitute a denial
21   of full and equal accommodation, advantages, and facilities by physically disabled
22   persons within the meaning of California Civil Code § 54. Defendants have
23   discriminated against Plaintiff in violation of California Civil Code § 54.
24         43.    The violations of the California Disabled Persons Act caused Plaintiff to
25   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
26   statutory damages as specified in California Civil Code §55.56(a)-(c).
27
28




                                   COMPLAINT FOR DAMAGES - 11
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 1                                FOURTH CAUSE OF ACTION
 2                                UNFAIR COMPETITION ACT
 3          44.    Plaintiff incorporates by reference each of the allegations in all prior
 4   paragraphs in this complaint.
 5          45.    Defendants have engaged in unfair competition, unfair or fraudulent
 6   business practices, and unfair, deceptive, untrue or misleading advertising in violation of
 7   the Unfair Competition Act. Bus & Prof. Code §§ 17200 et seq.
 8          46.    Defendants engage in business practices and policies that create systemic
 9   barriers to full and equal access for people with disability in violation of state and federal
10   law.
11          47.    The actions and omissions of Defendants are unfair and injurious to
12   Plaintiff, a consumer of the Business’ goods and services. As a result of Defendants’
13   unfair business practice and policies, Plaintiff suffered injury in fact. Plaintiff was not
14   provided with goods and services provided to other consumers. Plaintiff seeks relief
15   necessary to prevent Defendants’ continued unfair business practices and policies and
16   restitution of any month that Defendants acquired by means of such unfair competition,
17   including profits unfairly obtained.
18                                   FIFTH CAUSE OF ACTION
19                                          NEGLIGENCE
20          48.    Plaintiff incorporates by reference each of the allegations in all prior
21   paragraphs in this complaint.
22          49.    Defendants have a general duty and a duty under the ADA, Unruh Civil
23   Rights Act and California Disabled Persons Act to provide safe and accessible facilities
24   to the Plaintiff.
25          50.    Defendants breached their duty of care by violating the provisions of ADA,
26   Unruh Civil Rights Act and California Disabled Persons Act.
27          51.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
28   has suffered damages.



                                   COMPLAINT FOR DAMAGES - 12
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 1                                    PRAYER FOR RELIEF
 2         WHEREFORE, Plaintiff respectfully prays for relief and judgment against
 3   Defendants as follows:
 4         1.     For preliminary and permanent injunction directing Defendants to comply
 5   with the Americans with Disability Act and the Unruh Civil Rights Act;
 6         2.     Award of all appropriate damages, including but not limited to statutory
 7   damages, general damages and treble damages in amounts, according to proof;
 8         3.     Award of all reasonable restitution for Defendants’ unfair competition
 9   practices;
10         4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
11   action;
12         5.     Prejudgment interest pursuant to California Civil Code § 3291; and
13         6.     Such other and further relief as the Court deems just and proper.
14
15                              DEMAND FOR TRIAL BY JURY
16         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
17   demands a trial by jury on all issues so triable.
18
19   Dated: January 14, 2020                 SO. CAL. EQUAL ACCESS GROUP
20
21
22                                           By:   _/s/ Jason Yoon_______________
                                                   Jason Yoon, Esq.
23                                           Attorneys for Plaintiff
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                                   COMPLAINT FOR DAMAGES - 13
